                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

                                       NO. 7:23-CV-287-FL


 MATTHEW FEEHAN,                                 )
                                                 )
                         Plaintiff,              )
                                                 )
         v.                                      )                     ORDER
                                                 )
 GRAND CANYON UNIVERSITY,                        )
                                                 )
                         Defendant.              )



         This matter is before the court upon defendant’s motion to dismiss (DE 19) and plaintiff’s

motion for a preliminary injunction (DE 24). The motions have been briefed fully, and in this

posture the issues raised are ripe for ruling. For the following reasons, defendant’s motion is

granted, and plaintiff’s motion is denied.

                                      STATEMENT OF THE CASE

         Plaintiff began this debt collection practices suit by complaint filed March 21, 2023.

Plaintiff, proceeding pro se, asserts two claims: one for violating the federal Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (the “FDCPA”), and one for violating the North Carolina

Debt Collection Act, N.C. Gen. Stat. § 75-50 et seq. (the “NCDCA”). (See Compl. (DE 1) ¶¶ 45–

62). Plaintiff seeks injunctive relief restraining defendant from collecting the debt at issue,

declaratory relief that defendant violated the two statutes, statutory and punitive damages, and

costs.

         Plaintiff originally named Recovery Management Services, Inc. (“RMS”) as a co-

defendant, but voluntarily dismissed all claims against it September 19, 2023. (See Notice of




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Voluntary Dismissal with Prejudice (DE 18)). Defendant filed the instant motion to dismiss for

failure to state a claim on October 27, 2023, and plaintiff moved for a preliminary injunction

November 14, 2023, wherein plaintiff protests defendant’s continuing efforts to collect the debt at

issue, and asks the court to stay “any further collection attempts . . . and to [restrain] [d]efendant

GCU from continuing to threaten and harass [p]laintiff.” (See Pl’s Mot. Prelim. Inj. Stay Unlawful

Debt Collection and Restrain Def. Further Harmful Threats (DE 24) 2).

                                    STATEMENT OF FACTS

         The facts alleged in plaintiff’s complaint are as follows. Sometime between August 19,

2022 and October, 2022, defendant and the U.S. Department of Veterans Affairs (“VA”) allegedly

had a dispute over defendant’s regulatory compliance. (Compl. ¶ 4). This dispute caused the VA

to withdraw a $2,700 “GI Bill payment” it had made to defendant on plaintiff’s behalf, which then

fell to plaintiff to pay (the “debt”). (See id. ¶¶ 4–6).

         On January 7, 2023, in response to multiple written and verbal collection demands on the

debt, plaintiff sent a letter to defendant’s general counsel demanding an immediate halt to this

allegedly unlawful debt collection. (Id. ¶ 9). Defendant allegedly ignored this letter, and handed

the disputed balance to its internal collections team. (Id. ¶ 10). According to the complaint,

defendant’s collection agents “harassed” plaintiff by phone and email in February, 2023. (See id.

¶ 11).

         On March 17, 2023 plaintiff received a call from an RMS debt collector, who threatened

that RMS would “take away plaintiff’s ‘assets.’” (Id. ¶¶ 12–17). Plaintiff received a collections

letter from RMS March 20, 2023. (Id. ¶¶ 42–43).




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        Defendant has continued to attempt to collect the debt, despite plaintiff’s request that GCU

cease communicating with him. (Id. ¶ 50). Further, defendant has “continually harass[ed]”

plaintiff for the debt. (Id. ¶ 58).

                                         COURT’S DISCUSSION

A.      Standard of Review

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).1

“Factual allegations must be enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. In evaluating whether a claim is stated, “[the] court accepts all well-

pled facts as true and construes these facts in the light most favorable to the plaintiff,” but does not

consider “legal conclusions, elements of a cause of action, . . . bare assertions devoid of further

factual enhancement[,] . . . unwarranted inferences, unreasonable conclusions, or arguments.”

Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009).

B.      Analysis

        Defendant argues that plaintiff’s complaint must be dismissed because defendant is not a

debt collector to which the FDCPA applies, and because his complaint alleges no activity by

defendant that violates the NCDCA. The court agrees with each point.

        1.       FDCPA

        To prevail on a claim under the FDCPA, a plaintiff must sufficiently allege that the

defendant is a “debt collector” as defined under the statute. Henson v. Santander Consumer USA,

Inc., 817 F.3d 131, 135 (4th Cir. 2016); Russell v. Absolute Collection Servs., Inc., 763 F.3d 385,


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        Throughout this order, internal quotation marks and citations are omitted unless otherwise specified.


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389 (4th Cir. 2014). In pertinent part, a “debt collector” is a person who collects debts owed or

due to another. 15 U.S.C. § 1692a(6). In contrast, a “creditor,” the person to whom the debt is

owed, is exempt from this definition, and therefore outside the statute, except when a creditor uses

a name other than its own to collect. See id.; Henson, 817 F.3d at 135–36. The FDCPA thus

generally does not regulate persons or entities who attempt to collect on their own debts. Henson,

817 F.3d at 134.

       Plaintiff pleads that the debt here is owed to defendant. (See Compl. ¶ 6). Plaintiff’s

complaint further contains no allegations that defendant fits into the exception established by §

1692a(6). Instead, the complaint merely asserts that defendant is a debt collector. (Id. ¶¶ 32, 46).

These “labels and conclusions” do not satisfy pleading standards, Iqbal, 556 U.S. at 678, and so

this deficiency subjects the complaint to dismissal under Rule 12(b)(6).

       Plaintiff’s response brief attempts to remedy these deficiencies. First, plaintiff has attached

numerous exhibits to his brief, but the court cannot consider these documents at this stage because

they were not attached or integral to the complaint, and because defendant disputes their

authenticity. See, e.g., Occupy Columbia v. Haley, 738 F.3d 107, 116 (4th Cir. 2013); Crispin v.

BAC Home Loans Servicing, LP, No. 5:11-cv-375-FL, 2011 WL 6294319, at *3 (E.D.N.C. Dec.

15, 2011).

       Second, plaintiff’s response brief attempts to inject another entity into the case, “GCE,

Inc.,” which appears nowhere in the complaint. (See generally Pl’s Mem. Supp. Resp. Def’s Mot.

Dismiss Pl’s Compl. (DE 23) (“Pl’s Resp.”)). Plaintiff’s complaint states that defendant took all

the relevant actions, (see Compl. ¶¶ 6, 9–11), and introduces this new entity to the stage only in

his briefing. But it is well-established that a complaint may not be amended by assertions in a

brief in opposition to a motion to dismiss. See, e.g., S. Walk at Broadlands Homeowner’s Ass’n,



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Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 184–85 (4th Cir. 2013); Mylan Lab’ys, Inc.

v. Akzo, N.V., 770 F. Supp. 1053, 1068 (D. Md. 1991). The court therefore declines to consider

these new allegations against an entity not named or even mentioned in the complaint.

        Plaintiff further accuses GCU of various other misdeeds. (See Pl’s Resp. 1–4, 11). The

court cannot consider these allegations at this stage of the litigation, as discussed above, insofar as

they rest on plaintiff’s exhibits. And even if these additional allegations were properly before the

court, they “seem interposed mainly to distract attention from what in reality is a straightforward

. . . case.” Horvath v. Bank of N.Y., N.A., 641 F.3d 617, 626 (4th Cir. 2011). These additional

allegations are not relevant to plaintiff’s claims in this particular case.

        In sum, plaintiff has not alleged facts giving rise to a plausible inference that defendant

was acting as a debt collector, as the FDCPA defines that term. This deficiency subjects plaintiff’s

FDCPA claim to dismissal under Rule 12(b)(6). See Henson, 817 F.3d at 134.

        2.       NCDCA

        The NCDCA prohibits debt collectors from engaging in unfair collection practices, such

as using threats, harassment, or other unconscionable means. See N.C. Gen. Stat. § 75-52; Ross v.

FDIC, 625 F.3d 808, 817 (4th Cir. 2010).2 Plaintiff alleges that defendant harassed him in violation

of this statute. (See Compl. ¶ 58).

        The NCDCA defines harassment to include the following acts: 1) using profane or obscene

language that would abuse an ordinary person; 2) placing collect calls unless the caller fully

identifies himself; 3) calling with such unreasonable frequency as to constitute harassment; and 4)

calling, contrary to the debtor’s request, at his place of employment. See N.C. Gen. Stat. § 75-52



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          The NCDCA defines “debt collector” differently from the FDCPA, and lacks that statute’s collector/creditor
distinction. See N.C. Gen. Stat. § 75-50(3). Defendant therefore does not make the same definitional argument on
this claim, and the court resolves the issue on the nature of the harassment alleged in the complaint.

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(emphasis added). Plaintiff alleges that defendant called him about the debt. (Compl. ¶ 11). The

complaint contains no claim that defendant engaged in any act forbidden by the statute, but instead

merely asserts summarily that defendant harassed him. (Id. ¶¶ 11, 58). As noted with reference

to plaintiff’s FCCPA claim, such conclusory allegations do not suffice. See Iqbal, 556 U.S. at 678.

        Plaintiff does allege that defendant continued to contact him after he demanded it stop

doing so. (Compl. ¶¶ 9–10; Pl’s Resp. 10–12). However, the NCDCA forbids communicating

with a debtor, contrary to the debtor’s request, only if the creditor or collector calls the debtor’s

place of employment. N.C. Gen. Stat. § 75-52(4). Here, there is no allegation that defendant

called plaintiff’s place of employment. This argument therefore does not salvage plaintiff’s claim,

which remains subject to dismissal under Rule 12(b)(6).

        3.      Motion for a Preliminary Injunction

        While briefing on defendant’s motion to dismiss was ongoing, plaintiff moved separately

for a preliminary injunction restraining defendant from attempting to collect the debt.3 To obtain

a preliminary injunction, a plaintiff must establish, among other requirements, that he is likely to

succeed on the merits of his claim(s). Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20

(2008). Because the court has concluded above that plaintiff here cannot succeed on either of his

claims, he also fails to satisfy the requirements for preliminary injunctive relief. See id. The court

must deny plaintiff’s motion.




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        Plaintiff’s motion is dated November 9, 2023, and was received and filed by the clerk of court November 14,
2023.

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                                        CONCLUSION

       For the forgoing reasons, plaintiff’s motion for a preliminary injunction (DE 24) is

DENIED, and defendant’s motion to dismiss (DE 19) is GRANTED. Plaintiff’s claims are

DISMISSED for failure to state a claim upon which relief can be granted, pursuant to Federal Rule

of Civil Procedure 12(b)(6). The clerk is DIRECTED to close this case.

       SO ORDERED, this the 13th day of February, 2024.



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                                                    LOUISE W. FLANAGAN
                                                    United States District Judge




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